Case 1:21-cv-00198-JJM-PAS   Document 19-1   Filed 02/12/24   Page 1 of 29 PageID
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               EXHIBIT A
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                                   #: 389
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               EXHIBIT B
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                                           #: 391




 Email uploaded in DM as 12.29.23- Email rcvd-Dispute-Robert Brown-w BS responseFrom: Consumer
 Contact Center

 Sent: Friday, December 29, 2023 3:33 PM

 To: '               '<                >

 Subject: CW#23-18708/FW: Dispute



 Good a ernoon,



 This is an acknowledgement that our ﬁrm has received your correspondence, and it has been forwarded
 for review.



 Thank you for contac ng Brock & Sco , PLLC.




 From: BrockandSco .com <no-reply@brockandsco .com>

 Sent: Friday, December 29, 2023 12:56 PM

 To: Consumer Contact Center <Consumercontact@brockandsco .com>

 Subject: Dispute



 ***On 12/29/2023/12:55 pm, Robert Ted Brown with Phone#                    and Email:
                  , consented to authorizing Brock & Sco , PLLC to communicate with them through and
 to the email address and phone number they provided. They also conﬁrm they have not opted out of
 communica on through or to the email address or phone number they provided in this form***

 The following contact was received from BrockandSco .com. Please take appropriate ac on to respond.

 Reason for Contact: property-loan

 Your Name: Robert Ted Brown

 Phone: (401) 644-4930

 Email: Dispute

 Please Select One: Brock Sco File
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                                             #: 392


 Loan or Account #:

 Brock & Sco File #: 23-18709 FC01

 Message: December 27, 2023

 Brock & Sco , PLLC

 3825 Forrestgate Dr

 Winston Salem, NC 27103

 RE: Property Address / 199 Hudson Pond Rd / West Greenwich RI / 02817

 To whom it may concern:

 Please let this serve as my formal no ce that the above referenced alleged debt is hereby disputed.
 Pursuant to your le er dated November 20, 2023, all collec on will immediately stop un l a resolu on is
 reached. This also refers to the foreclosure that I believe your ﬁrm is handling. The dispute arises from
 the various amounts provided. The principal balance is showing $325,000.00. Amounts throughout this
 process have varied. I’m not sure what is the correct amount. I need a complete breakdown, plus the
 interest rate appears to have changed.

 Please direct ALL correspondence related to this ma er to:

 Robert Ted Brown

 199 Hudson Pond Rd

 West Greenwich, RI 02817

 Any other addresses previously used should be immediately removed from your records.

 If you have any ques ons please feel free to contact me at              ,             , or the
 physical address men oned above. I am also in communica on with Rushmore regarding a loan
 modiﬁca on, as it is my desire to maintain the property for several more years.

 Sincerely,

 Robert Ted Brown

 Consent: consent
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               EXHIBIT C
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                                   #: 394
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Case 1:21-cv-00198-JJM-PAS   Document 19-1   Filed 02/12/24   Page 9 of 29 PageID
                                   #: 396
Case 1:21-cv-00198-JJM-PAS   Document 19-1   Filed 02/12/24   Page 10 of 29 PageID
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               EXHIBIT D
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                                            #: 399




 Consumer Hotline
 844-856-6646
 Phone:                            23 Messenger Street, 2nd Floor, Plainville, MA 02762                     Fax:
 401-217-8701                           ConsumerContact@brockandscott.com                           401-217-8702
                                               www.brockandscott.com


                                           December 19, 2023

 Robert Ted Brown                                             Robert Ted Brown
 199 Hudson Pond Rd                                           100 Placid Forest Ct
 West Greenwich, RI 02817                                     Simpsonville, SC 29681-6576


          RE:       199 Hudson Pond Road, West Greenwich, RI 02817
                    B&S File No.: 23-18708 FC01

 Dear Madam or Sir:

        This office has been retained by Mr. Cooper, servicer for U.S. Bank, National
 Association as legal title trustee for Truman 2016 SC6 Title Trust as successor-in-interest to
 Mortgage Electronic Registration Systems, Inc. as nominee for New Century Mortgage
 Corporation, its successors and/or assigns, in connection with the mortgage loan on the
 above-referenced property.

         I have enclosed a copy of a mortgagee's notice of foreclosure sale which indicates that the
 above-referenced property is to be sold at a foreclosure sale to be held at the time and place set
 forth therein.

        The mortgagee reserves the right to pursue any deficiency remaining after foreclosure, if
 allowed by law.


 THIS COMMUNICATION IS FROM A DEBT COLLECTOR. THIS IS AN ATTEMPT
 TO COLLECT A DEBT, AND ANY INFORMATION OBTAINED WILL BE USED FOR
 THAT PURPOSE. IF YOU: ARE A DEBTOR IN AN ACTIVE BANKRUPTCY CASE;
     ARE UNDER THE PROTECTION OF A BANKRUPTCY STAY; OR, HAVE
 RECEIVED A DISCHARGE IN BANKRUPTCY AND YOU HAVE NOT REAFFIRMED
   THE DEBT, THIS NOTICE IS FOR INFORMATIONAL PURPOSES ONLY AND
  SHOULD NOT BE CONSTRUED AS AN ATTEMPT TO COLLECT A DEBT FROM
                           YOU PERSONALLY.
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                   NOTICE REGARDING SERVICEMEMBERS’ RIGHTS
 NOTE: It should be noted that although the statute provision below refers to a period of nine (9)
 months after military service, federal law has increased that time period to one (1) year after
 military service.

 A servicemember on active duty or deployment or who has recently ceased
 such duty or deployment has certain rights under subsection 34-27-4(d) of the
 Rhode Island general laws set out below. To protect your rights if you are
 such a servicemember, you should give written notice to the servicer of the
 obligation or the attorney conducting the foreclosure, prior to the sale, that
 you are a servicemember on active duty or deployment or who has recently
 ceased such duty or deployment. This notice may be given on your behalf by
 your authorized representative. If you have any questions about this notice,
 you should consult with an attorney.

 (d) Foreclosure sales affecting servicemembers.-
    (1) The following definitions shall apply to this subsection and to subsection (c):
    (i) “Servicemember” means a member of the army, navy, air force, marine corps, or coast
 guard and members of the national guard or reserves called to active duty.
    (ii) “Active duty” has the same meaning as the term is defined in 10 U.S.C. sections
 12301 through 12304. In the case of a member of the national guard, or reserves “active duty”
 means and includes service under a call to active service authorized by the president or the
 secretary of defense for a period of time of more than thirty (30) consecutive days under 32
 U.S.C. section 502(f), for the purposes of responding to a national emergency declared by the
 president and supported by federal funds.
    (2) This subsection applies only to an obligation on real and related personal property
 owned by a service member that:
    (i) Originated before the period of the servicemember's military service or in the case of a
 member of the national guard or reserves originated before being called into active duty and for
 which the servicemember is still obligated; and
    (ii) Is secured by a mortgage or other security in the nature of a mortgage.
    (3) Stay of right to foreclose by mortgagee. – Upon receipt of written notice from the
 mortgagor or mortgagor’s authorized representative that the mortgagor is participating in active
 duty or deployment or that the notice as provided in subsection (c) was received within nine (9)
 months of completion of active duty or deployment, the mortgagee shall be barred from
 proceeding with the execution of sale of the property as defined in the notice until such nine (9)
 month period has lapsed or until the mortgagee obtains court approval in accordance with
 subdivision (d)(5) below.
    (4) Stay of proceedings and adjustment of obligation. – In the event a mortgagee
 proceeds with foreclosure of the property during, or within nine (9) months after a
 servicemember's period of active duty or deployment notwithstanding receipt of notice
 contemplated by subdivision (d)(3) above, the servicemember or his or her authorized
 representative may file a petition against the mortgagee seeking a stay of such foreclosure, after a
 hearing on such petition, and on its own motion, the court may:
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                                            #: 401



     (i) Stay the proceedings for a period of time as justice and equity require; or
     (ii) Adjust the obligation as permitted by federal law to preserve the interests of all
 parties.
     (5) Sale or foreclosure.- A sale, foreclosure or seizure of property for a breach of an
 obligation of a servicemember who is entitled to the benefits under subsection (d) and who
 provided the mortgagee with written notice permitted under subdivision (d)(3) shall not be valid
 if made during, or within nine (9) months after, the period of the servicemember's military
 service except:
     (i) Upon a court order granted before such sale, foreclosure or seizure after hearing on a
 petition filed by the mortgagee against such servicemember; or
     (ii) If made pursuant to an agreement of all parties.
     (6) Penalties.- A mortgagee who knowingly makes or causes to be made a sale,
 foreclosure or seizure of property that is prohibited by subsection (d)(3) shall be fined the sum of
 one thousand dollars ($1,000), or imprisoned for not more than one year, or both. The remedies
 and rights provided hereunder are in addition to and do not preclude any remedy for wrongful
 conversion otherwise available under law to the person claiming relief under this section,
 including consequential and punitive damages.
     (7) Any petition hereunder shall be commenced by action filed in the superior court for
 the county in which the property subject to the mortgage or other security in the nature of a
 mortgage is situated. Any hearing on such petition shall be conducted on an expedited basis
 following such notice and/or discovery as the court deems proper.



                                               Respectfully
                                               Brock & Scott, PLLC

 Enclosure
 Certified Mail R/R/R
 and Regular Mail (copy)
Case 1:21-cv-00198-JJM-PAS         Document 19-1       Filed 02/12/24     Page 15 of 29 PageID
                                          #: 402



                            NOTICE OF MORTGAGEE'S SALE
                                 199 Hudson Pond Road
                                West Greenwich, RI 02817

         The premises described in the mortgage will be sold, subject to all encumbrances, prior
 liens and such matters which may constitute valid liens or encumbrances after sale, at public
 auction on February 16, 2024 at 02:00 PM on the premises by virtue of the power of sale in said
 mortgage made by Robert Ted Brown, dated May 31, 2006, and recorded in the West Greenwich,
 Rhode Island Land Evidence Records in Book 318, Page 16, as affected by a Judgment recorded
 in said Land Evidence Records in Book 629, Page 305, the conditions of said mortgage having
 been broken. $5,000.00 in cash, certified or bank check required to bid. Other terms to be
 announced at the sale.

                                                    Brock & Scott, PLLC
                                                    270 Farmington Avenue
                                                    Suite 151
                                                    Farmington, CT 06032
                                                    Attorney for the present
                                                    Holder of the Mortgage
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 Consumer Hotline
 844-856-6646
 Phone:                          23 Messenger Street, 2nd Floor, Plainville, MA 02762                     Fax:
 401-217-8701                         ConsumerContact@brockandscott.com                           401-217-8702
                                             www.brockandscott.com


                                            December 19, 2023

 TO INTERESTED PARTIES

          RE:       199 Hudson Pond Road, West Greenwich, RI 02817

                    File #: 23-18708 FC01

         Enclosed is a copy of a mortgagee's notice of foreclosure sale, which indicates that the
 above-referenced property is to be sold at a foreclosure sale to be held at the time and place set
 forth therein. This notice will appear weekly in Kent County Times starting on January 23, 2024

 This notice is being sent to you because a title report indicates that you have an interest in the
 above-referenced property.

          If you have any questions, please do not hesitate to contact this office.

                                                     Respectfully

                                                     Brock & Scott, PLLC

 Enclosure
 Certified Mail R/R/R
 and Regular Mail (copy)
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                                          #: 404



                            NOTICE OF MORTGAGEE'S SALE
                                 199 Hudson Pond Road
                                West Greenwich, RI 02817

         The premises described in the mortgage will be sold, subject to all encumbrances, prior
 liens and such matters which may constitute valid liens or encumbrances after sale, at public
 auction on February 16, 2024 at 02:00 PM on the premises by virtue of the power of sale in said
 mortgage made by Robert Ted Brown, dated May 31, 2006, and recorded in the West Greenwich,
 Rhode Island Land Evidence Records in Book 318, Page 16, as affected by a Judgment recorded
 in said Land Evidence Records in Book 629, Page 305, the conditions of said mortgage having
 been broken. $5,000.00 in cash, certified or bank check required to bid. Other terms to be
 announced at the sale.

                                                    Brock & Scott, PLLC
                                                    270 Farmington Avenue
                                                    Suite 151
                                                    Farmington, CT 06032
                                                    Attorney for the present
                                                    Holder of the Mortgage




                                                                                23-18708 FC01
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                                           #: 405



                         NOTICE OF SALE – INTERESTED PARTIES


          Re:      Record Owner:        Robert Ted Brown and Pamela J. Brown
                   Property Address:    199 Hudson Pond Road, West Greenwich, RI 02817
                   B&S File:            23-18708 FC01


 You have received this notice because our records indicate that you are either the present owner,
 subordinate lienholder, or other interested party.

 Pamela J. Brown
 199 Hudson Pond Rd.
 West Greenwich, RI 02817

 Mortgage Electronic Registration Systems, Inc.
 P.O. Box 2026
 Flint, MI 48501

 Arch Mortgage Assurance Company
 230 N. Elm Street
 Greensboro, NC 27401

 Internal Revenue Service
 Advisory Consolidated Receipts
 7940 Kentucky Drive, Stop 2850F
 Florence, KY 41042

 Town of West Greenwich
 280 Victory Highway
 West Greenwich, RI 02817


                                              Respectfully,
                                              Brock & Scott, PLLC
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                                            #: 406


Invoice



PLEASE REMIT TO:                                                 Invoice Number:
Walz Group, LLC                                                      Invoice Date:    12/20/2023
27398 Via Industria                                            Customer Number:
Temecula, CA 92590-3699                                                     Terms:    Due Upon Receipt
                                                               Reference Number:      23-18708-FC01
                                                                   Servicer/Client:   Mr. Cooper
SOLD TO:
Brock & Scott, PLLC
ATTN: ACCOUNTS PAYABLE
4550 Country Club Rd                                                          Property Address:
Winston-Salem, NC 27104                                                       199 Hudson Pond Road, West
                                                                              Greenwich, RI, 02817



Mail Date   Service    Description     Article                      Mailing Adress                           Postage
            Type                                                                                               Price
12/19/2023 Certified   CFCSDRR         9314710011701153067076 Robert Ted Brown                                 8.770
                                                                    199 Hudson Pond Rd
                                                                    West Greenwich, RI 02817

12/19/2023 Certified   CFCSDRR         9314710011701153067083 Robert Ted Brown                                 8.770
                                                                    100 Placid Forest Ct
                                                                    Simpsonville, SC 29681-6576

12/19/2023 Certified   CFCSDRR         9314710011701153067090 Pamela J. Brown                                  8.770
                                                                    199 Hudson Pond Rd.
                                                                    West Greenwich, RI 02817

12/19/2023 Certified   CFCSDRR         9314710011701153067106 Arch Mortgage Assurance Company                  8.770
                                                                    230 N. Elm Street
                                                                    Greensboro, NC 27401

12/19/2023 Certified   CFCSDRR         9314710011701153067113 Internal Revenue Service                         8.770
                                                                    Advisory Consolidated Receipts
                                                                    7940 Kentucky Drive, Stop 2850F
                                                                    Florence, KY 41042

12/19/2023 Certified   CFCSDRR         9314710011701153067120 Mortgage Electronic Registration                 8.770
                                                                    Systems, Inc.
                                                                    PO BOX 2026
                                                                    FLINT, MI 48501-2026

12/19/2023 Certified   CFCSDRR         9314710011701153067137 Town of West Greenwich                           8.770
                                                                    280 Victory Highway
                                                                    West Greenwich, RI 02817

12/19/2023 First Class CFCSDRR         2386121050                   Occupant(s)                                0.630
                                                                    199 Hudson Pond Road


                                                 Page 1 of 2
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                                            #: 407




Mail Date   Service    Description     Article                     Mailing Adress                          Postage
            Type                                                                                             Price
                                                                   West Greenwich, RI 02817

12/19/2023 First Class CFCSDRR         2386110768                  Robert Ted Brown                          0.870
                                                                   199 Hudson Pond Rd
                                                                   West Greenwich, RI 02817

12/19/2023 First Class CFCSDRR         2386110769                  Robert Ted Brown                          0.870
                                                                   100 Placid Forest Ct
                                                                   Simpsonville, SC 29681-6576

12/19/2023 First Class CFCSDRR         2386110770                  Pamela J. Brown                           0.870
                                                                   199 Hudson Pond Rd.
                                                                   West Greenwich, RI 02817

12/19/2023 First Class CFCSDRR         2386110771                  Arch Mortgage Assurance Company           0.870
                                                                   230 N. Elm Street
                                                                   Greensboro, NC 27401

12/19/2023 First Class CFCSDRR         2386110772                  Internal Revenue Service                  0.870
                                                                   Advisory Consolidated Receipts
                                                                   7940 Kentucky Drive, Stop 2850F
                                                                   Florence, KY 41042

12/19/2023 First Class CFCSDRR         2386110773                  Mortgage Electronic Registration          0.870
                                                                   Systems, Inc.
                                                                   PO BOX 2026
                                                                   FLINT, MI 48501-2026

12/19/2023 First Class CFCSDRR         2386110774                  Town of West Greenwich                    0.870
                                                                   280 Victory Highway
                                                                   West Greenwich, RI 02817

12/19/2023 Certified   CFCSDRR         9314710011701153117214 Occupant(s)                                    8.530
                                                                   199 Hudson Pond Road
                                                                   West Greenwich, RI 02817




                                                                                       Total Postage:       $76.64




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                                    #: 409
Case 1:21-cv-00198-JJM-PAS   Document 19-1   Filed 02/12/24   Page 23 of 29 PageID
                                    #: 410
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               EXHIBIT E
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                                    #: 414
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                                    #: 415
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